UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MARTIN JONATHAN BATALlA VIDAL, et al.,
                         Plaintiffs,                      ORDER
                                                  16-CV-4756 (NGG) (VMS)
             -against-
CHAD WOLF, et al.,
                     Defendants.
STATE OF NEW YORK, et al.,
                         Plaintiffs,              17-CV-5228 (NGG) (VMS)

             -against-
DONALD TRUMP, et al.,
                         Defendants.


      NICHOLAS G. GARAUFIS, United States District Judge.
     The court has reviewed the notices posted to the Government's
     websites. Defendants are DIRECTED to replace the current no-
     tices with the following amended notice language by 5:00 pm
     on December 9, 2020:
     In compliance with an order [hyperlinked to:
     https://www.dhs.gov/publication/batalla-vidal-et-al-v-wolf-et-
     al-and-state-new-york-et-al-v-trump-et-al] of a United States
     District Court, effective December 7, 2020, U.S. Citizenship and
     Immigration Services (USCIS) is:
         •     Accepting first-time requests for consideration of de-
               ferred action under Deferred Action for Childhood
               Arrivals (DACA) based on the terms of the DACA pol-
               icy in effect prior to September 5, 2017, and in
               accordance with the Court's December 4, 2020, or-
               der;
         •     Accepting DACA renewal requests based on the
               terms of the DACA policy in effect prior to September




                                       1
                   5, 2017, and in accordance with the Court's Decem-
                   ber 4, 2020, order;
            •      Accepting applications for advance parole documents
                   based on the terms of the DACA policy prior to Sep-
                   tember 5, 2017, and in accordance with the Court's
                   December 4, 2020, order;
            •      Extending one-year grants of deferred action under
                   DACA to two years; and
            •      Extending one-year employment authorization docu-
                   ments under DACA to two years.

         USCIS will take appropriate steps to provide evidence of the
         one-year extensions of deferred action and employment author-
         ization documents under DACA to individuals who were issued
         documentation on or after July 28, 2020, with a one-year valid-
         ity period under the defunct policy.
         OHS will comply with the order while it remains in effect, but
         OHS may seek relief from the order.


SO ORDERED.


Dated:      Brooklyn, New York
            December 9, 2020

                                                     /s/ Nicholas G. Garaufis
                                                    NICHOLAS G. GARAUFIS
                                                    United States District Judge




                                        2
